Case 1:05-cr-00637-CBA   Document 78   Filed 04/20/06   Page 1 of 5 PageID #: 161




                                        /s/ Hon .Carol B. Amon
Case 1:05-cr-00637-CBA   Document 78   Filed 04/20/06   Page 2 of 5 PageID #: 162
Case 1:05-cr-00637-CBA   Document 78   Filed 04/20/06   Page 3 of 5 PageID #: 163
Case 1:05-cr-00637-CBA   Document 78   Filed 04/20/06   Page 4 of 5 PageID #: 164
Case 1:05-cr-00637-CBA   Document 78   Filed 04/20/06   Page 5 of 5 PageID #: 165
